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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


UNITED STATES OF AMERICA,

vs.                                                     CASE NO. 8:06CR279-T-EAK-TBM


CESAR AUGUSTO ENRIQUE OSORIO
                                            /
                                                ORDER


        This cause comes before the Court on notice from the Office of the Federal Defender that
it has satisfied the requirements set forth in the Court’s Omnibus Order In Re: Amendment 782,
United States Sentencing Guidelines, 6:14-MC-78-ORL-22 (“Omnibus Order”), and notification
that the office will not be filing a Motion for Sentence Reduction under Amendment 782 on
behalf of Defendant Osorio as to the retroactive application of revised sentencing guidelines
(Doc. 362). The Defendant in this case has filed a motion for reduction in sentence under
Amendment 782. The Court will allow the Defendant to file a further motion requesting a
reduction before it determines the matter. Accordingly, it is.
        ORDERED that defendant has up to and including December 21, 2015 to file a motion
and memorandum in support of his contention that his sentence should be reduced. The
government is directed to file a response to any filings within fifteen days of the date of any
filing from the defendant. The Court will rule on the issue as soon as possible after that date.
The Federal Defender is withdrawn from this matter.


        DONE AND ORDERED in Chambers in Tampa, Florida this 22nd day of October,
2015.
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Copies furnished to: All Counsel of Record
